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                         EXHIBIT F
Logo         CaseName
         Department 1:25-cv-11048-ADB
                          Agency          Document 59-6
                                   Organization                       Filed 05/13/25       Page
                                                                                Organization      2 Information
                                                                                             Address of 3
         United States      Forest      Washington Office                         1400 Independence Avenue, SW
         Department of      Service                                               Washington, D.C. 20250
         Agriculture



                                                            File Code:      1580
                                                                 Date:      May 9, 2025



       Dr. Alan Garber
       Office of the President
       Harvard University
       Massachusetts Hall
       Cambridge, MA 02138

       Dr. Garber:

              The Forest Service is hereby providing notice that funding for the projects in the attached
       spreadsheet will be terminated.

              These awards no longer effectuate agency priorities. The Forest Service is responsible for
       ensuring that its limited resources are appropriately allocated. Our policy is that Federal assistance
       should support institutions that foster safe, equal, and healthy working and learning conditions
       conducive to high-quality research.

              We are aware of recent events at Harvard University involving antisemitic action that
       suggest the institution has a disturbing lack of concern for the safety and wellbeing of Jewish
       students. Harvard’s ongoing inaction in the face of repeated and severe harassment and targeting
       of Jewish students has ground day-to-day campus operations to a halt, deprived Jewish students of
       learning and research opportunities to which they are entitled, and brought shame upon the
       University and our nation as a whole. Indeed, as the Harvard Presidential Task Force on Combating
       Antisemitism and Anti-Israeli Bias concluded, actions at Harvard during the 2023-2024 academic
       year resulted in widespread abuse of Jewish and Israeli students by an institution “that
       mainstreamed and normalized what many Jewish and Israeli students experience as antisemitism
       and anti-Israeli bias.”

                Supporting research in such an environment is plainly inconsistent with Forest Service
       priorities and raison d’etre of funding and championing the very best American research and
       educational institutions.

               Upon being made aware of systematic institutional failures to address deeply rooted
       antisemitism and racial discrimination, the University has refused to take appropriate action. We
       perceive these categorical rejections to manifest the University’s unwillingness to take corrective
       action or implement necessary reforms. Therefore, no modification of the projects could align the
       projects with agency priorities.


       Administrative Appeal.

              You may object and provide information and documentation challenging these



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terminations.

       You must submit a request for such review to my attention at the address above no later
than 30 days after this letter is received, except that if you show good cause why an extension of
time should be granted, you may be granted an extension of time. The request for review must
include a copy of this decision, must identify the issue(s) in dispute, and must contain a full
statement of your position with respect to such issue(s) and the pertinent facts and reasons in
support of your position. In addition to the required written statement, you shall provide copies
of any documents supporting your claim.

Sincerely,




Andria Weeks
Associate Deputy Chief, Business Operations
